This case has on two previous occasions been considered by this court. See Stokes v. Rabenberg, 51 S.D. 493, 215 N.W. 492; Id.,56 S.D. 71, 227 N.W. 466. The second time the case was before this court the judgment of the trial court was reversed. The second opinion gives the facts, as disclosed in the first trial, in detail. The case has been retried, and the trial court has found the facts contrary to plaintiff's version, and entered judgment in favor of the defendant. The plaintiff has appealed. We do not believe anything would be gained by again making an exhaustive review of the facts and contentions of the parties.
It is our opinion that the findings made by the trial court are sustained by the evidence, and, in view of those findnigs and the prior opinion of this court, the judgment and order appealed from are affirmed.
RUDOLPH, P.J., and POLLEY, CAMPBELL, ROBERTS, and WARREN, JJ., concur. *Page 323 